                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF TENNESSEE
                                          NASHVILLE DIVISION

JULIAN ALVARADO;                                        )
JORGE ALVARADO; and                                     )
MYNOR CHOX FRANCISCO,                                   )
                                                        )
           Plaintiffs,                                  )       No.: 3:16-cv-03030
                                                        )
v.                                                      )
                                                        )
BURKE SKELTON; and                                      )       Magistrate Judge Holmes
OUTDOORS UNLIMITED, INC.                                )
                                                        )
           Defendants.                                  )


PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ REQUEST FOR FEES


           On October 24, 2017, Plaintiffs filed a motion, Dkt. 61, requesting this Court enter an

order of civil contempt against Defendants’ attorney, Mr. Bert McCarter, and impose monetary

costs against the same, for violating this Court’s Order, Dkt. 56. On November 8, 2017,

Defendants filed their Response in Opposition, Dkt. 63 (“Response”). The conclusion of that

Response states:

           Therefore, Defendants request that Plaintiffs’ Motion for Contempt be denied, and
           this Court award Defendants their attorneys’ fees for being required to respond to
           this Motion.

Dkt. 63 at 15.

           To the extent the Court construes this paragraph as a request by Defendants for fees

against Plaintiffs or Plaintiffs’ counsel, Plaintiffs hereby oppose that request. Plaintiffs’

generalized opposition is not intended to constitute a waiver of any specific defenses, as

Defendants’ request is ambiguous as to the basis for the request and against whom the request is

made. Plaintiffs respectfully ask that the Court deny Defendants’ request for fees.


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      Case 3:16-cv-03030 Document 64 Filed 11/17/17 Page 1 of 2 PageID #: 424
Dated: Nov. 17, 2017                                    Respectfully submitted,

                                                        /s/ Karla M. Campbell
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                                                        Attorneys for Plaintiffs



                                       CERTIFICATE OF SERVICE

       I certify that on Nov. 17, 2017, the foregoing document was electronically filed with the
Clerk of the Court using CM/ECF and served via the Court’s Electronic Filing System to:

           Bert W. McCarter
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           Attorney for Defendants, Outdoors Unlimited, Inc. and Burke Skelton.

                                          /s/ Karla M. Campbell
                                          Karla M. Campbell




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      Case 3:16-cv-03030 Document 64 Filed 11/17/17 Page 2 of 2 PageID #: 425
